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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-2(c)

  Jonathan Schwalb, Esq.
  Friedman Vartolo LLP
  85 Broad Street, Suite 501
  New York, New York 10004
  212-471-5100
  bankruptcy@friedmanvartolo.com
 In Re:                                                     Case No.:                   16-25577
                                                                                    ________________

  Norma J Sierra                                            Judge:                  Stacey L. Meisel
                                                                                    ________________

                                                            Chapter:                       13
                                                                                    ________________



                          APPLICATION FOR EXTENSION OR
                   EARLY TERMINATION OF LOSS MITIGATION PERIOD

The undersigned is the _________________________________________
                                 Secured Creditor Attorney       in this matter. On
  October 28, 2016
____________________, a Loss Mitigation Order was entered concerning:

Property:                  74 Leslie Street, Newark, NJ 07108
                   ___________________________________________________________

Creditor:          BSI Financial Services as successor to Federal National Mortgage Association
                   ___________________________________________________________


                                                                                  December 21, 2018
Pursuant to the Loss Mitigation Order, the Loss Mitigation Period will expire on ____________________.

For the reason(s) set forth below, the _______________________
                                               Creditor        hereby requests:

             An extension of the Loss Mitigation Period to _____________________ .

            ✔ Early termination of the Loss Mitigation Period, effective _____________________
                                                                              Immediately     .

Set forth the applicant’s reason(s) for the above request:
The Estate of Rafael Sierra (Mortgager) was denied a loan modification for failure to return the
Modification Packet. A copy of the denial letter is attached as "Exhibit A."




Dated: ___________________
       November 29, 2018                                     _________________________________
                                                             /s/ Jonathan Schwalb, Esq.
                                                             Applicant’s signature

                                                                                                  Revised 9/19/13
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                              EXHIBITA
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                                                                                 ϯϭϰ^&ƌĂŶŬůŝŶ^ƚͬ^ĞĐŽŶĚ&ůŽŽƌ
                                                     Document     Page 3 of 9
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ŽĨǇŽƵƌƉĞƌƐŽŶĂůůŝĂďŝůŝƚǇĨŽƌƚŚĞŽďůŝŐĂƚŝŽŶŝĚĞŶƚŝĨŝĞĚŝŶƚŚŝƐůĞƚƚĞƌ͕ǁĞŵĂǇŶŽƚĂŶĚĚŽŶŽƚŝŶƚĞŶĚƚŽƉƵƌƐƵĞĐŽůůĞĐƚŝŽŶŽĨƚŚĂƚŽďůŝŐĂƚŝŽŶ
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ĨƌŽŵ ǇŽƵ ƉĞƌƐŽŶĂůůǇ͘ hŶůĞƐƐ ƚŚĞ ĂŶŬƌƵƉƚĐǇ ŽƵƌƚ ŚĂƐ ŽƌĚĞƌĞĚ ŽƚŚĞƌǁŝƐĞ͕ ƉůĞĂƐĞ ĂůƐŽ ŶŽƚĞ ƚŚĂƚ ĚĞƐƉŝƚĞ ĂŶǇ ƐƵĐŚ ďĂŶŬƌƵƉƚĐǇ ĨŝůŝŶŐ͕
ǁŚĂƚĞǀĞƌƌŝŐŚƚƐǁĞŚŽůĚŝŶƚŚĞƉƌŽƉĞƌƚǇƚŚĂƚƐĞĐƵƌĞƐƚŚĞŽďůŝŐĂƚŝŽŶƌĞŵĂŝŶƵŶŝŵƉĂŝƌĞĚ͘ 
                                                                                                                                       WĂŐĞϮŽĨϯ
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                                                                                 ϯϭϰ^&ƌĂŶŬůŝŶ^ƚͬ^ĞĐŽŶĚ&ůŽŽƌ
                                                     Document     Page 5 of 9
                                                                                                                                 WKŽǆϱϭϳ
                                                                                                                        dŝƚƵƐǀŝůůĞ͕Wϭϲϯϱϰ
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hŶĚĞƌƚŚĞZĞĂůƐƚĂƚĞ^ĞƚƚůĞŵĞŶƚWƌŽĐĞĚƵƌĞƐĐƚ͕ĂƋƵĂůŝĨŝĞĚǁƌŝƚƚĞŶƌĞƋƵĞƐƚŝƐĂǁƌŝƚƚĞŶĐŽƌƌĞƐƉŽŶĚĞŶĐĞ
;ŽƚŚĞƌ ƚŚĂŶ ŶŽƚŝĐĞ ŽŶǇŽƵƌ ƉĂǇŵĞŶƚ ĐŽƵƉŽŶ ŽƌŽƚŚĞƌ ƉĂǇŵĞŶƚ ŵĞĚŝƵŵ ƐƵƉƉůŝĞĚ ďǇ ƵƐͿ ƌĞŐĂƌĚŝŶŐ ƚŚĞ
ƐĞƌǀŝĐŝŶŐ ŽĨ ǇŽƵƌ ůŽĂŶ ǁŚŝĐŚ ŝĚĞŶƚŝĨŝĞƐ ǇŽƵƌ ŶĂŵĞ͕ ĂĐĐŽƵŶƚ ŶƵŵďĞƌ͕ ĂŶĚ ƚŚĞ ƐƉĞĐŝĨŝĐ ƌĞĂƐŽŶƐ ĨŽƌ ƚŚĞ
ƌĞƋƵĞƐƚ͕ƐƵĐŚĂƐĂŶĞƌƌŽƌŽŶǇŽƵƌůŽĂŶĂĐĐŽƵŶƚŽƌĂƌĞƋƵĞƐƚĨŽƌŝŶĨŽƌŵĂƚŝŽŶ͘ŶǇƋƵĂůŝĨŝĞĚǁƌŝƚƚĞŶƌĞƋƵĞƐƚ
ǇŽƵǁŝƐŚƚŽƐƵďŵŝƚŵƵƐƚďĞƐĞŶƚƚŽ͗
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                                               ^/&ŝŶĂŶĐŝĂů^ĞƌǀŝĐĞƐ
                                        ƚƚŶ͗YƵĂůŝĨŝĞĚtƌŝƚƚĞŶZĞƋƵĞƐƚƐ
                                        ϭϰϮϱ'ƌĞĞŶǁĂǇƌŝǀĞ͕^ƵŝƚĞϰϬϬ
                                                 /ƌǀŝŶŐ͕dyϳϱϬϯϴ
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                                 ƚƚĞŶƚŝŽŶ^ĞƌǀŝĐĞŵĞŵďĞƌƐĂŶĚĞƉĞŶĚĞŶƚƐ
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^ĞƌǀŝĐĞŵĞŵďĞƌƐŽŶĂĐƚŝǀĞĚƵƚǇ͕ŽƌĂƐƉŽƵƐĞŽƌĚĞƉĞŶĚĞŶƚŽĨƐƵĐŚĂƐĞƌǀŝĐĞŵĞŵďĞƌ͕ŵĂǇďĞĞŶƚŝƚůĞĚƚŽ
ĐĞƌƚĂŝŶƉƌŽƚĞĐƚŝŽŶƐƵŶĚĞƌƚŚĞ^ĞƌǀŝĐĞŵĞŵďĞƌƐŝǀŝůZĞůŝĞĨĐƚ;͞^Z͟ͿƌĞŐĂƌĚŝŶŐƚŚĞƐĞƌǀŝĐĞŵĞŵďĞƌ͛Ɛ
ŝŶƚĞƌĞƐƚƌĂƚĞĂŶĚƌŝƐŬŽĨĨŽƌĞĐůŽƐƵƌĞ͘^ZĂŶĚĐĞƌƚĂŝŶƐƚĂƚĞůĂǁƐƉƌŽǀŝĚĞŝŵƉŽƌƚĂŶƚƉƌŽƚĞĐƚŝŽŶƐĨŽƌǇŽƵ͕
ŝŶĐůƵĚŝŶŐƉƌŽŚŝďŝƚŝŶŐĨŽƌĞĐůŽƐƵƌĞƵŶĚĞƌŵŽƐƚĐŝƌĐƵŵƐƚĂŶĐĞƐ͘/ĨǇŽƵĂƌĞĐƵƌƌĞŶƚůǇŝŶƚŚĞŵŝůŝƚĂƌǇƐĞƌǀŝĐĞ͕
ŽƌŚĂǀĞďĞĞŶǁŝƚŚŝŶƚŚĞůĂƐƚϭϮŵŽŶƚŚƐ͕EũŽŝŶĞĚĂĨƚĞƌƐŝŐŶŝŶŐƚŚĞEŽƚĞĂŶĚ^ĞĐƵƌŝƚǇ/ŶƐƚƌƵŵĞŶƚŶŽǁ
ŝŶĚĞĨĂƵůƚ͕ƉůĞĂƐĞŶŽƚŝĨǇ^/&ŝŶĂŶĐŝĂů^ĞƌǀŝĐĞƐŝŵŵĞĚŝĂƚĞůǇ͘tŚĞŶĐŽŶƚĂĐƚŝŶŐ^/&ŝŶĂŶĐŝĂů^ĞƌǀŝĐĞƐ͕ĂƐƚŽ
ǇŽƵƌŵŝůŝƚĂƌǇƐĞƌǀŝĐĞ͕ǇŽƵŵƵƐƚƉƌŽǀŝĚĞ ƉŽƐŝƚŝǀĞƉƌŽŽĨĂƐƚŽǇŽƵƌŵŝůŝƚĂƌǇƐƚĂƚƵƐ͘^ĞƌǀŝĐĞŵĞŵďĞƌƐĂŶĚ
ĚĞƉĞŶĚĞŶƚƐ ǁŝƚŚ ƋƵĞƐƚŝŽŶƐ ĂďŽƵƚ ƚŚĞ ^Z ƐŚŽƵůĚ ĐŽŶƚĂĐƚ ƚŚĞŝƌ ƵŶŝƚ͛Ɛ :ƵĚŐĞ ĚǀŽĐĂƚĞ͕ Žƌ ƚŚĞŝƌ
ŝŶƐƚĂůůĂƚŝŽŶ͛Ɛ>ĞŐĂůƐƐŝƐƚĂŶĐĞKĨĨŝĐĞƌ͘,ŽŵĞŽǁŶĞƌĐŽƵŶƐĞůŝŶŐŝƐĂůƐŽĂǀĂŝůĂďůĞĂƚĂŐĞŶĐŝĞƐƐƵĐŚĂƐDŝůŝƚĂƌǇ
KŶĞ^ŽƵƌĐĞ ;ǁǁǁ͘ŵŝůŝƚĂƌǇŽŶĞƐŽƵƌĐĞ͘ŵŝůͿ ;ϴϬϬͲϯϰϮͲϵϲϰϳͿ ĂŶĚ ƌŵĞĚ &ŽƌĐĞƐ >ĞŐĂů ƐƐŝƐƚĂŶĐĞ
;ŚƚƚƉ͗ͬͬůĞŐĂůĂƐƐŝƐƚĂŶĐĞ͘ůĂǁ͘ĂĨ͘ŵŝůͿ͕       ĂŶĚ      ƚŚƌŽƵŐŚ      ,hͲĞƌƚŝĨŝĞĚ     ŚŽƵƐŝŶŐ       ĐŽƵŶƐĞůŽƌƐ
;ŚƚƚƉ͗ͬͬǁǁǁ͘ŚƵĚ͘ŐŽǀͬŽĨĨŝĐĞƐͬŚƐŐͬƐĨŚͬŚĐĐͬŚĐƐ͘ĐĨŵͿ͘zŽƵĐĂŶĂůƐŽĐŽŶƚĂĐƚƵƐƚŽůůĨƌĞĞĂƚ;ϴϬϬͿϯϮϳͲϳϴϲϭŝĨ
ǇŽƵŚĂǀĞƋƵĞƐƚŝŽŶƐĂďŽƵƚǇŽƵƌƌŝŐŚƚƐƵŶĚĞƌ^Z͘
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>ŝĐĞŶƐĞĚĂƐ^ĞƌǀŝƐKŶĞ͕/ŶĐ͘ĚďĂ^/&ŝŶĂŶĐŝĂů^ĞƌǀŝĐĞƐ͘
^/&ŝŶĂŶĐŝĂů^ĞƌǀŝĐĞƐED>^ηϯϴϬϳϴ͘ƵƐƚŽŵĞƌĂƌĞ,ŽƵƌƐ͗DŽŶ͘Ͳ&ƌŝ͘ϴ͗ϬϬĂŵƚŽϭϭ͗ϬϬƉŵ;dͿĂŶĚ^Ăƚ͘ϴ͗ϬϬĂŵƚŽϭϮ͗ϬϬƉŵ;dͿ͘
/ĨǇŽƵŚĂǀĞĨŝůĞĚĂďĂŶŬƌƵƉƚĐǇƉĞƚŝƚŝŽŶĂŶĚƚŚĞƌĞŝƐĂŶΗĂƵƚŽŵĂƚŝĐƐƚĂǇΗŝŶĞĨĨĞĐƚŝŶǇŽƵƌďĂŶŬƌƵƉƚĐǇĐĂƐĞŽƌǇŽƵŚĂǀĞƌĞĐĞŝǀĞĚĂĚŝƐĐŚĂƌŐĞ
ŽĨǇŽƵƌƉĞƌƐŽŶĂůůŝĂďŝůŝƚǇĨŽƌƚŚĞŽďůŝŐĂƚŝŽŶŝĚĞŶƚŝĨŝĞĚŝŶƚŚŝƐůĞƚƚĞƌ͕ǁĞŵĂǇŶŽƚĂŶĚĚŽŶŽƚŝŶƚĞŶĚƚŽƉƵƌƐƵĞĐŽůůĞĐƚŝŽŶŽĨƚŚĂƚŽďůŝŐĂƚŝŽŶ
ĨƌŽŵǇŽƵƉĞƌƐŽŶĂůůǇ͘/ĨĞŝƚŚĞƌŽĨƚŚĞƐĞĐŝƌĐƵŵƐƚĂŶĐĞƐĂƉƉůǇ͕ƚŚŝƐŶŽƚŝĐĞŝƐŶŽƚĂŶĚƐŚŽƵůĚŶŽƚďĞĐŽŶƐƚƌƵĞĚƚŽďĞĂĚĞŵĂŶĚĨŽƌƉĂǇŵĞŶƚ
ĨƌŽŵ ǇŽƵ ƉĞƌƐŽŶĂůůǇ͘ hŶůĞƐƐ ƚŚĞ ĂŶŬƌƵƉƚĐǇ ŽƵƌƚ ŚĂƐ ŽƌĚĞƌĞĚ ŽƚŚĞƌǁŝƐĞ͕ ƉůĞĂƐĞ ĂůƐŽ ŶŽƚĞ ƚŚĂƚ ĚĞƐƉŝƚĞ ĂŶǇ ƐƵĐŚ ďĂŶŬƌƵƉƚĐǇ ĨŝůŝŶŐ͕
ǁŚĂƚĞǀĞƌƌŝŐŚƚƐǁĞŚŽůĚŝŶƚŚĞƉƌŽƉĞƌƚǇƚŚĂƚƐĞĐƵƌĞƐƚŚĞŽďůŝŐĂƚŝŽŶƌĞŵĂŝŶƵŶŝŵƉĂŝƌĞĚ͘ 
                                                                                                                                       WĂŐĞϯŽĨϯ
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                                                                          
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)
_______________________________________________
Jonathan Schwalb, Esq.
Friedman Vartolo LLP
85 Broad Street, Suite 501
New York, New York 10004
212-471-5100
bankruptcy@friedmanvartolo.com

In Re:
                                                              Case No.:         16-25577
                                                                          ____________________

 Norma J Sierra                                               Chapter:             13
                                                                          ____________________

                                                              Judge:          Stacey L. Meisel
                                                                          ____________________



                            ORDER RESPECTING REQUEST FOR EXTENSION
                       OR EARLY TERMINATION OF THE LOSS MITIGATION PERIOD


         The relief set forth on the following page is hereby ORDERED.
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                                     Document     Page 7 of 9


The court having granted the Notice of Request for Loss Mitigation concerning the following property and
               October 28, 2016
creditor on _____________________ :

Property:                    74 Leslie Street, Newark, NJ 07108
               ___________________________________________________________

Creditor:       BSI Financial Services as successor to Federal National Mortgage Association
               ___________________________________________________________

and a Request for

     Extension of the 90 day Loss Mitigation Period having been filed by ____________________________,
        and for good cause shown

                                                                                 Secured Creditor
     Early Termination of the Loss Mitigation Period having been filed by ___________________________,
        and for good cause shown

It is hereby ORDERED that,

The Loss Mitigation Period is extended up to and including _____________________________ .

                                                                 Immediately
The Loss Mitigation Period is terminated, effective ____________________________________ .




                                                                                               Revised 9/19/13
                                                    2
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                                           Document     Page 8 of 9


     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-1(b)

     Jonathan Schwalb, Esq.
     Friedman Vartolo LLP
     85 Broad Street, Suite 501
     New York, New York 10004
     212-471-5100
     bankruptcy@friedmanvartolo.com                       Case No.:                 16-25577
                                                                              ____________________

                                                          Chapter:                     13
                                                                              ____________________


     In Re:                                               Adv. No.:           ____________________
     Norma J Sierra                                       Hearing Date:       ____________________

                                                          +RQJudge:            Stacey L. Meisel
                                                                              ____________________




                                     CERTIFICATION OF SERVICE

1. I, ____________________________
       Theodore Weber              :

           ‫ ܆‬represent ______________________________ in the this matter.

                                             Jonathan Schwalb, Esq.
           ‫ ܆‬am the secretary/paralegal for ___________________________, who represents
           ______________________________
           BSI Financial Services         in the this matter.

           ‫ ܆‬am the ______________________ in the this case and am representing myself.



2.         On _____________________________
                    November 29, 2018      , I sent a copy of the following pleadings and/or documents
           to the parties listed in the chart below.
              - Application for Early Termination of Loss Mitigation Period



3.         I certify under penalty of perjury that the above documents were sent using the mode of service
           indicated.

Date:        November 29, 2018
           _______________________                       /s/ Theodore Weber
                                                         __________________________________
                                                         Signature
Case 16-25577-SLM      Doc 72   Filed 11/29/18 Entered 11/29/18 17:59:40         Desc Main
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 Name and Address of Party Served       Relationship of               Mode of Service
                                       Party to the Case
Norma J Sierra                                             ‫ ܆‬Hand-delivered
74 Leslie St.
                                     Debtor(s)             ‫ ܆‬Regular mail
Newark, NJ 07108
                                                           ‫ ܆‬Certified mail/RR
                                                           ‫ ܆‬E-mail
                                                           ‫ ܆‬Notice of Electronic Filing (NEF)
                                                           ‫ ܆‬Other _____________________
                                                             (as authorized by the court *)

Scott E. Tanne                                             ‫ ܆‬Hand-delivered
Scott E. Tanne Esq.
4 Chatham Road                      Debtor(s) Attorney     ‫ ܆‬Regular mail
Summit, NJ 07901                                           ‫ ܆‬Certified mail/RR
                                                           ‫ ܆‬E-mail
                                                           ‫ ܆‬Notice of Electronic Filing (NEF)
                                                           ‫ ܆‬Other _____________________
                                                             (as authorized by the court *)

Marie-Ann Greenberg                                        ‫ ܆‬Hand-delivered
Chapter 13 Standing Trustee
30 Two Bridges Rd                   Trustee                ‫ ܆‬Regular mail
Suite 330                                                  ‫ ܆‬Certified mail/RR
Fairfield, NJ 07004
                                                           ‫ ܆‬E-mail
                                                           ‫ ܆‬Notice of Electronic Filing (NEF)
                                                           ‫ ܆‬Other _____________________
                                                             (as authorized by the court *)

                                                           ‫ ܆‬Hand-delivered

                                    U.S. Trustee           ‫ ܆‬Regular mail
                                                           ‫ ܆‬Certified mail/RR
                                                           ‫ ܆‬E-mail
                                                           ‫ ܆‬Notice of Electronic Filing (NEF)
                                                           ‫ ܆‬Other _____________________
                                                             (as authorized by the court *)



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